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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                   2:06-cr-88-FtM-29SPC


ISAAC L. MARION
ISAAC L. MARION, JR.
_____________________________


                            OPINION AND ORDER

      On December 18, 2007, an ancillary hearing in the forfeiture

proceedings in this criminal case came before the Court pursuant to

21 U.S.C. § 853(n)(2)-(6) to adjudicate the validity of the alleged

interests of third parties in 862 Zana Drive, Fort Myers, Florida

and 856 Zana Drive, Fort Myers.           At the scheduled hearing the

government advised the Court that it would be filing a civil

Verified Complaint for Forfeiture In Rem as to these two properties

(and two other properties), and suggested that the Court do nothing

further   in   connection   with   forfeiture    in   the   criminal   case.

Petitioner Beverly A. Gray objected, and stood ready to proceed as

scheduled.     The Verified Complaint was filed in Case No. 2:07-cv-

822-FtM-29SPC while arguments were being heard.

                                    I.

      The Indictment (Doc. #3) contains a forfeiture provision

seeking forfeitures pursuant to 21 U.S.C. § 853.            It specifically

identifies seven real properties: (1) 2929 Market Street, Fort
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Myers, Florida; (2) 881 Jarmilla Lane, Fort Myers, Florida; (3)

3370 Highland Avenue, Fort Myers, Florida; (4) 862 Zana Drive, Fort

Myers, Florida; (5) 856 Zana Drive, Fort Myers, Florida; (6) 2675

Blake Street, Fort Myers, Florida; and (7) 3741 Madison Avenue,

Fort Myers, Florida, and four motor vehicles as being subject to

forfeiture.    The government filed the Government’s Notices of Lis

Pendens (Docs. #8-15, 149) as to these properties stating that the

government “is seeking to forfeit certain real property, including

all appurtenances thereto and improvements thereon, located at . .

. .” pursuant to 21 U.S.C. § 853.

      In due course the defendants pled guilty, and two defendants

agreed   to   forfeit    their   interests    in   certain   of   the   real

properties.    The Court entered Judgment (Doc. #138) as to Isaac L

Marion forfeiting his interest in 2929 Market Street, 881 Jamilla

Lane, 2675 Blake Street, 3741 Madison Avenue, and two vehicles.

The Court entered Judgment (Doc. #198) as to Issac L. Marion, Jr.

Forfeiting his interest in 862 Zana Drive and 856 Zana Drive.             No

defendant forfeited his interest in 3370 Highland Avenue.                 On

November 16, 2006, a second Assistant United States Attorney

entered a Notice of Appearance “in regard to forfeiture proceedings

in the above-styled cause.”       (Doc. #91.)

      Pursuant to 21 U.S.C. § 853 the government filed two Motion[s]

of the United States of America For Entry of a Preliminary Order of

Forfeiture (Docs. #117, #158) relating to the right, title and

interest of the defendants in the real property located at 2929

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Market Street, 881 Jarmilla Lane, 2675 Blake Street, 3741 Madison

Avenue, 862 Zana Drive, and 856 Zana Drive.                  These motions also

stated: “Because the Preliminary Order of Forfeiture forfeits only

the   interest      of   defendant     [named    defendant]       in    the    subject

property,     the    United      States   requests    that    the      Court   retain

jurisdiction        to   enter   any   further     orders    necessary        for   the

forfeiture and disposition of the subject property and to entertain

any third party claims that may be asserted in these proceedings.”

In due course the Court granted the motions, forfeited the interest

of defendants in the real property, and “retain[ed] jurisdiction to

enter   any    further      orders     necessary     for    the   forfeiture        and

disposition of the subject property, and to entertain any third

party claims that may be asserted in these proceedings.”                       (Docs.

#136, #159.)

      The government caused notice of its intent to forfeit 862 Zana

Drive, and 856 Zana Drive to be published (Docs. #181, #182, #183),

as required by 21 U.S.C. § 853(n)(1).                No such notice has been

published as to the other properties.

      Various entities and persons filed claims of interest in the

property the government sought to forfeit.                   Verified Petitions

(Docs. #141, #180) were filed by the Lee County Tax Collector

asserting a claim pursuant to 21 U.S.C. § 853(n).                        A Verified

Petition (Doc. #153) was filed by the Estate of Mary R. Marion

asserting a claim pursuant to 21 U.S.C. § 853(n).                 A Verified Claim

of Interest (Doc. #178) was filed by Novastar Mortgage, Inc.

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asserting a claim pursuant to 21 U.S.C. § 853(n).              A Petition for

Ancillary Proceedings in Forfeiture of Adjudication of Interest

Under 21 U.S.C. § 853 (Doc. #184) was filed by Suncoast Schools

Federal Credit Union. A Petition (Doc. #209) was filed by Patricia

A. Gray asserting a claim pursuant to 21 U.S.C. § 853(n).

      The government filed a Notice of Filing Expedited Stipulated

Settlement Agreement Between the United States and Petitioner

Suncoast Schools Federal Credit Union (Doc. #191).             The settlement

was “contingent upon a court-authorized interlocutory sale or

forfeiture of the property to the United States, the United States’

prevailing    against   any   third     parties     alleging    claims   in   an

ancillary proceeding, and the court’s entry of a Final Order of

Forfeiture.”     (Doc. #191-2, ¶12.)

      The Court then scheduled a hearing for November 2, 2007

pursuant to 21 U.S.C. § 853(n)(2)-(6) to adjudicate the validity of

the alleged interests in 862 Zana Drive, Fort Myers, Florida and

856 Zana Drive, Fort Myers, Florida by (1) Navastar Mortgage, Inc.

as to both properties, (2) Catherine M. Curtis, Tax Collector of

Lee County, Florida as to both properties, and (3) Patricia A. Gray

as to both properties.

      The government filed a Stipulated Settlement Agreement Between

the United States and Petitioner Lee County Tax Collector (Doc.

#216) on October 25, 2007.

      On October 25, 2007, the government filed its Motion to

Continue   the   Ancillary    Hearing       (Doc.   #217).     The   government

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asserted that it and claimant Patricia A. Gray had decided that

discovery was needed to resolve her claim and have agreed to an

exchange of such discovery, and that the parties agreed to meet the

following month and discuss the evidence and possible resolution.

(Doc. #217, ¶6.)      The Court entered an Order (Doc. #218) granting

the motion and continuing the ancillary hearing until December 18,

2007.

      The   government    thereafter   filed    an   Expedited    Stipulated

Settlement Agreement as to 856 Zana Drive Fort Myers, Florida (Doc.

#219) with Novastar Mortgage, Inc.         The settlement was “contingent

upon a court-authorized interlocutory sale or forfeiture of the

property    to the United States, the United States’ prevailing

against     any   third   parties   alleging   claims   in   an   ancillary

proceeding, and the court’s entry of a Final Order of Forfeiture.”

(Id. at ¶ 12.)      An identical Stipulated Settlement (Doc. #220) was

filed as to 862 Zana Drive.

      A Stipulated Settlement Agreement Between the United States

and Petitioner Lee County Tax Collector (Doc. #223) was filed on

November 5, 2007.

      At the scheduled December 18, 2007 ancillary hearing, the

government asserted that the Court could do nothing else in the

criminal case, but rather must allow forfeiture to proceed in the

newly-filed civil case.      The civil case relates to 862 Zana Drive

and 856 Zana Drive, and two other properties not identified in the

Indictment.

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                                    II.

      The government has two methods of obtaining forfeiture.           “The

forfeiture may be obtained in a civil in rem proceeding or in a

criminal in personam proceeding.” United States v. Pease, 331 F.3d

809, 810 (11th Cir. 2003).         The criminal forfeiture proceeding

first forfeits the criminal defendant’s interest in the property,

then allows other claimants to show at an ancillary hearing before

the court an interest superior to defendant’s (and hence the

government’s) or that the claimant was a bona fide purchaser for

value.    If no claimant establishes a claim, the government has

clear title to the property.       21 U.S.C. § 853(n); Pease, 331 F.3d

at 810.

      Here, the government chose criminal forfeiture. It encumbered

the title to seven pieces of real property by filing lis pendens.

It   caused   three   claimants   to   incur   attorney    fees   to   reach

settlement agreements as to their legitimate interests in the

properties.     It caused the sole claimant who has not settled to

pursue her petition to an ancillary hearing, at which time it filed

a civil complaint as to the properties.        The government’s view that

the Court can or should do nothing in light of the civil complaint

is simply not tenable.     While the government may have resources to

waste with duplicative proceedings, the Court and private litigants

do not.    Unless the government dismisses the criminal forfeiture




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proceedings,     the    Court     will   conduct   the    ancillary       proceeding

previously scheduled.

      Accordingly, it is now

      ORDERED:

      1.    Since      no   defendant     forfeited      his   interest     in     3370

Highland Avenue, the United States shall show cause on or before

January 7, 2008 why the forfeiture proceedings should not be

dismissed as to this property.

      2.    The United States shall also show cause on or before

January 7, 2008 why the forfeiture proceedings should not be

dismissed    and     the    lis   pendens      removed    as   to   the    following

properties     for     failure     to    publish   the     required       notice    of

forfeiture: (a) 2929 Market Street, Fort Myers, Florida; (b) 881

Jarmilla Lane, Fort Myers, Florida; (c) 2675 Blake Street, Fort

Myers, Florida; and (d) 3741 Madison Avenue, Fort Myers, Florida.

      3.    The ancillary hearing as to 862 Zana Drive and 856 Zana

Drive is rescheduled for January 8, 2008 at 9:00 A.M. before the

undersigned, in Courtroom A, Sixth Floor, of the United States

Courthouse, 2110 First Street, Fort Myers, Florida.

      DONE AND ORDERED at Fort Myers, Florida, this                  20th     day of

December, 2007.



Copies: Counsel of record

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